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                 EXHIBIT A

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                 EXHIBIT B

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                 EXHIBIT C

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                 EXHIBIT D

   (Confidential - Filed under Seal)
